Case 3:16-cv-00672-DMS-MSB Document 17 Filed 03/20/19 PageID.53 Page 1 of 2



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 8                       UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
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11   MARTHA GABRIELA SILVA, an                 Case No. 3:16-cv-00651-DMS-DHB
     individual,
12                                             ORDER GRANTING JOINT
                 Plaintiff,                    MOTION TO DISMISS CASES
13
           v.
14
     CREDIT ONE BANK, N.A.,
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17         Pursuant to Federal Rules of Civil Procedure Rule 41(1)(a)(2), the Court
18   GRANTS the parties’ joint motion to dismiss the following cases with prejudice:
19         Jones v. Credit One Bank, N.A., 3:16-cv-00940-DMS-DHB;
20         Dorsey v. Credit One Bank, N.A., 3:16-cv-00915-DMS-DHB;
21         Gill v. Credit One Bank, N.A., 3:16-cv-00913-DMS-MDD;
22         Harris v. Credit One Bank, N.A., 3:16-cv-00908-DMS-DHB;
23         Byers v. Credit One Bank, N.A., 3:16-cv-00904-DMS-DHB;
24         Bare v. Credit One Bank, N.A., 3:16-cv-00710-DMS-DHB;
25         Chism v. Credit One Bank, N.A., 3:16-cv-00672-DMS-DHB;
26         Gomez v. Credit One Bank, N.A., 3:16-cv-00659-DMS-DHB;
27         Lawrence v. Credit One Bank, N.A., 3:16-cv-00658-DMS-DHB; and
28
           Silva v. Credit One Bank, N.A., 3:16-cv-00651-DMS-DHB.
                                                             Case No. 3:17cv2299 DMS (JMA)
                                             -1-
Case 3:16-cv-00672-DMS-MSB Document 17 Filed 03/20/19 PageID.54 Page 2 of 2



 1   And the following case to be dismissed without prejudice:
 2         Garcia v. Credit One Bank, N.A., 3:16-cv-00706-DMS-DHB.
 3         IT IS SO ORDERED.
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     Dated: March 20, 2019
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